Gomes Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23 Page 1 of 10

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CLERK

US DISTRICT COURT

601 MARKET STREET
PHILADELPHIA PA 19106

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Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23 Page 2 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

In re: REMICADE ANTITRUST ) Civil Action No. 2:17-cv-04326-KSM
LITIGATION. )
) CLASS ACTION
This Document Relates to: )
)
INDIRECT PURCHASER )
ACTIONS. )
)

 

MOTION FOR LEAVE TO OBTAIN ECF ACCESS

AND NOW COMES OBJECTOR Jose Gomez (“Gomez”) and moves this

Court for leave to obtain ECF access:

1.

Presently before the Court is a nationwide class action. Claimants without
receipts for medicine purchased nearly 9 years ago can only claim $1000 in
purchases (less than a single prescription cost for a person without insurance)
and will receive a small payout considering the tiny settlement pool.

The Court, not following modern protocol in nationwide class actions, did not
waive pro hac vice requirements and fees so these nationwide participants
can appear through local counsel that are on the bar of any federal court.

In other words, claimants and objectors with something to say have the
Hobson’s Choice of doing it themselves or ... paying more than they would
receive anyway.

The Federal Judiciary Center’s Managing Class Action Litigation: A Pocket
Guide for Judges explains at page 20, section F(2) that, “The FJC study also
found that in about half of the class actions, not a single member filed a
written objection.”

Considering this, one would think in the initial scheduling Order that the Court

would also desire to make it easy for objectors to lodge their objections

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Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23. Page 3 of 10

PDF to the ECF. Nevertheless, Gomez received the following response from
the Clerk of Court:

Your request is being rejected because we see no case that you are a party in. Anytime a pro
se requests ECF, they must file in their case a request for ECF with the judge. Once the
judge grants you ECF, you can then request ECF through PACER.

11. In other words, to easily file a document electronically, an objector in a

 

nationwide Class Action must invoke the extraordinary powers of 28 USC

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1651 and petition a federal judge to gain access to the exclusive and
proprietary system, wait for an Order, and if granted, reapply for access.

12. This is obviously prudent, not a waste of the time of litigants and judicial staff,
considering that the ECF system uses an exclusive file type known as PDF
(“pee dee eff” or “Portable Document Format’) instead of picture files that the
commoners use on Facebook and Twitter.

13. That, precisely, is the reason why class members do not bother, do not
participate, and do not waste their time engaging in futile acts of bureaucratic
circling meant to discourage participation — such as having to print out
documents, mail them to the court, wait for the Clerk to scan them, and then
repeatedly click on the docket to make sure they were processed — which
makes this poorly administered, horribly worded procedure all the more
objectionable.

14. Notwithstanding these hurdles, because the administration of this case is so
outrageous requiring the undersigned to participate and probably to seek
appellate review or, in the alternative, seek medication attention to alleviate
the symptoms caused by reading the legalese contained on the website
approved by this Court for claimants, it would probably be in the interests of

the judicial economy to grant this motion to allow ECF access.

 
Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23. Page 4 of 10

15. If granted, the undersigned certifies and attests that under no circumstances
will he include embedded links to the claims administrator’s website that could
cause distress if a person clicks thereon and then determines that, despite
trying to read the website, have no idea what it actually says unless, of
course, they find page 4 that provides the objection procedure.
WHEREFORE, Objector Jose Gomez respectfully requests that this Court

direct the Court's ECF Help Desk (or “Clerk”) to grant a subsequent request by the
undersigned to achieve ECF access.

Respectfully submitted,

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Jose Gomez

Apartado 11041-1000

San Juan SJ 10102

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j.gomez@miserablemail.com

OBJECTOR

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Case 2:17-cv-04326-KSM Document 213. Filed 01/27/23 Page 5 of 10

EXHIBIT A - What a Person Sees on the Settlement Website

IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
PENNSYLVANIA
if You Purchased or Paid for REMICADE, A Class Action Settlement Could Affect You.
INFORMATION REGARDING CLASS ACTION SETTLEMENT

A proposed $25,000,000 Settlement has been reached in a class action lawsuit on
behalf of consumers and third-party payors regarding the prescription drug
Remicade. The class action lawsuit (In re Remicade Antitrust Litigation, No.
2:17-cv-04326-KSM) claims that Defendants Johnson & Johnson and Janssen

Biotech, Inc. violated federal and state antitrust and consumer-protection laws by

taking action to block competition by new entrants in the infliximab market.
Defendants deny any wrongdoing. The Court has not decided who is right.

The Court has preliminarily approved the proposed Settlement described in this
Notice. To resolve the claims, the proposed Settlement will provide for $25,000,000
to be paid by Defendants. Attorneys’ Fees and Expenses and Service Awards may be
deducted from this amount, with Court approval.

The Court has scheduled a hearing to decide whether to approve the Settlement, the
plan for allocating the Settlement Fund to Settlement Class Members, and any
requests by the attorneys for reimbursement of expenses out of the Settlement Fund,
payment of Service Awards to the Named Plaintiffs, with Court approval (the
“Fairness Hearing”). The Fairness Hearing is scheduled for Monday, February 27,
2023 at 2:00 p.m. ET, before Judge Marston at the United States District Court for the
Eastern District of Pennsylvania, James A. Byrne U.S. Courthouse, 601 Market Street,
Philadelphia, PA 19106. The time and date of the Fairness Hearing may change
without additional mailed Notice. For updated information on the Fairness Hearing,
please check this website regularly. Please read the Notice carefully.

Who Is Included?

The Settlement Class is defined as follows: All persons and entities in the United
States. and its territories who indirectly purchased, paid and/or provided
reimbursement for some or all of the purchase price of Defendants’ infliximab
(Remicade) from April 5, 2016 through February 28, 2022 (the “Class Period”).

e The following groups are excluded from the Class: (a) Defendants, their
officers, directors, management, employees, subsidiaries and affiliates; (b) all
federal. and state governmental entities except for cities, towns or
municipalities with self-funded prescription drug plans; (c) all persons or
entities who purchased Defendants’ infliximab (Remicade) for purposes of
resale or who purchased infliximab directly from Defendants; (d) fully insured
health plans (i.e, health plans that purchased insurance covering 100% of
their reimbursement obligation to members); (e) any “flat co-pay” consumers
whose purchases of Defendants’ infliximab (Remicade) were paid in part by a
third-party payor and whose co-payment was the same regardless of the retail
purchase price; (f) pharmacy benefit managers; (g) any judges or justices
involved in this action and any members of their immediate families; and (h)
any providers (including but not limited to hospitals, clinics, and physicians)

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Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23 Page 6 of 10

who purchase Remicade and are later reimbursed for the provision of

Remicade.

YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

PARTICIPATE IN
THE SETTLEMENT
BY SUBMITTING A
CLAIM FORM.

If you are a Settlement Class Member and want to
participate in the Settlement, then you will need to
submit a Claim Form in order to be eligible to obtain a

_ share of the proposed Settlement.

You will be asked to provide information or data proving
_ that you are a member of the Settlement Class. You also
_ may be asked to provide data showing your eligible

purchases. Please see the Remicade Product Codes
listed below for reference.

If you are unable to access to the settlement website
identified above, please contact the Settlement
Administrator at In re Remicade Antitrust Litigation,
Settlement Administrator, c/o Gilardi & Co., LLC, P.O. Box

6175, Novato, CA 94948-6175, contact
_info@RemicadeSettlement.com, or call 1-888-859-1912.

 

EXCLUDE YOURSELF

FROM THE
SETTLEMENT CLASS

- You may choose to exclude yourself, or “optout,” from

_ the Settlement Class if you believe you are a member of
_ the Settlement Class. If you decide to exclude yourself,

_ you will not be bound by any decision in this lawsuit
relating to Defendants. This is the only option that

_ allows you to ever be part of any lawsuit (other than this

lawsuit) against Defendants relating to the legal claims
against Defendants in this case.

The deadline for opting out is November 30, 2022.

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Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23 Page 7 of 10

STAY IN THE LAWSUIT _ If you object to all or any part of the proposed

BUT OBJECTTOTHE Settlement, you may write to the Court about why you
SETTLEMENT do not like the proposed Settlement. You may object to

the proposed Settlement only if you have not excluded
yourself from the Settlement Class.
The deadline for objecting is November 30, 2022.

-- GET MORE If you would like to get more information about the case —
INFORMATION or the Settlement, you can send questions to the
_ lawyers or the Settlement Administrator identified in this
Notice and/or ask to attend the Fairness Hearing where
_ the Court will evaluate the proposed Settlement.

For the purpose of searching purchase records, the Remicade product codes are as
. follows,
Product NDC-9 NDC-11 HCPCS/J Code

 

 

Remicade 57894-0030 = 57894-0030-01 J1745

 

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Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23 Page 8 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Inre: REMICADE ANTITRUST Civil Action No. 2:17-cv-04326-KSM

 

 

 

)
LITIGATION. )
) CLASS ACTION
This Document Relates to: )
)
INDIRECT PURCHASER )
ACTIONS. )
)
ORDER
AND NOW, this day of , 2023, upon

consideration of the Motion for ECF Access, and upon finding by preponderance of
the evidence that Objector Jose Gomez probably can upload documents without the
need for further training, it is hereby ORDERED, ADJUDGED, and DECREED that
said motion is GRANTED. The Clerk shall add Jose Gomez as a party-objector to
this case, list his address as shown on his objections or the motion this Order refers

to, and APPROVE any subsequent application for access to the ECF system.

 

United States District Judge

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Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23 Page 9 of 10

CERTIFICATE OF SERVICE

Aside from myself, who has been denied ECF access without an Order of
Court, all of the relevant parties requiring service are members of the Court’s
electronic filing system and will be notified of this motion at the time the Clerk of
Court files it.

Respectfully submitted,
a emer

 

Jose Gomez

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Case 2:17-cv-04326-KSM Document 213 Filed 01/27/23 Page 10 of 10

 

 

 

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